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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

Case Number: 1:19-CV-06489 (Judge Dow)

ROOR INTERNATIONAL BV and
SREAM, INC.

Plaintiffs,
v.

LAKEVIEW SMOKE & VAPE INC. and
AIRAF JALIAWALA,

Defendants.
/

JUDGMENT ORDER

This matter coming before the Court on Plaintiffs’ Motion for Entry of Default Judgment
under Rule 55(b), and after considering the prove-up materials and memorandum submitted by
movant, the Court hereby finds, and it is ORDERED:

1. The Plaintiffs filed their Complaint in September 2019 [Dkt. 1].

2, The Summons and Complaint was served on Airaf Jaliawala on November 9, 2019
{[Dkt. 9].

3. The Summons and Complaint was served on Lakeview Smoke & Vape, Inc. on
November 13, 2019 [Dkt. 10].

4, The Defendants have failed to respond to the Complaint or otherwise appear in
this instant action.

5. The Court entered a Rule 55(a) default against Defendants on January 16, 2020.
See Fed. R. Civ. Pro. 55(a) [DE 13].

6. Plaintiffs have filed prove-up materials and a memorandum of law.
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7. In counterfeit trademark cases, the balance in setting statutory damages is
providing some measure of compensation and deterrence, without crossing the line into over-
deterrence. Relevant considerations include the nature and price of the product; the volume of
sales (or an estimate depending on the size of the offending retail operation); any safety and
health risks of the counterfeit goods; and the strength of the mark. See, e.g., Republic
Technologies (NA) LLC v. Smoke Shop for You XX, Inc. 19 C 8462 (N.D. Ill. 2020) (Chang, J.).

8. Here, the tobacco pipe bought by the investigator was $77.16, which is a
substantial price. Also, the investigator reported there were several offending RooR pipes being
offered at the location. Moreover, the Defendants are in the business of operating smoke shops,
where familiarity with the brand should be known. And on default willfulness is presumed.

9. Additionally, as the court in Smoke Shop for You XX, Inc., concluded, “there
actually is some health concern with counterfeit products that are designed to convey vapors into
the body.” Id.

10. Accordingly, the Court awards $30,327.16 in statutory damages. As did the court
in Smoke Shop for You XX, Inc., this Court is reclassifying the private-investigator fee and the
purchased product into the statutory damages amount because those expenses are not properly
considered taxable costs under Civil Rule 54(d)(1). Nonetheless, they should be recoverable to
add to the deterrence and compensation purposes of statutory damages. In addition to the
statutory damages, $563.20 is awarded for costs (the filing fee and service expense). The total
judgment amount is thus $30,890.36.

11. A separate AO-450 judgment shall be entered.

Judgment in entered in favor of ROOR INTERNATIONAL BV and SREAM, INC., and
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against LAKEVIEW SMOKE & VAPE INC. and AIRAF JALIAWALA, jointly and severally,

in the amount of $30,890.36.

 

 

Robert M. Dow
United States District Judge

Dated: July 22, 2020
